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       ORDERED in the Southern District of Florida on March 22, 2022.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
       _____________________________
                                     )
       In re                         )     CASE NO. 18-11977-RAM
                                     )     CHAPTER 13
       JUAN GONZALEZ and CAROLINA    )
       GONZALEZ,                     )
                                     )
                      Debtors.       )
                                     )
                                     )
       DR. MARIA GABRIELA NOGUERRA, )
       et al.,                       )
                                     )
                                     )
                      Plaintiffs,    )
                                     )
       vs.                           )     ADV. NO. 21-01140-RAM
                                     )
       JUAN GONZALEZ and CAROLINA    )
       GONZALEZ,                     )
                                     )
                      Defendants.    )
                                     )
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                 ORDER OF DISMISSAL (SETTLEMENT)


     Based upon the settlement announced on the record at the

pretrial conference conducted on March 17, 2022, it is -

     ORDERED that this adversary proceeding is dismissed.             The

Court retains jurisdiction to enter an agreed final judgment, and

reserves jurisdiction to enforce the settlement or any judgment

entered pursuant to the settlement.



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COPIES FURNISHED TO:

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